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   1   John R. Keville (pro hac vice)
       jkeville@sheppardmullin.com
   2   Robert L. Green (pro hac vice)
       rgreen@sheppardmullin.com
   3   Chante B. Westmoreland (pro hac vice)
       cwestmoreland@sheppardmullin.com
   4   SHEPPARD MULLIN RICHTER &
       HAMPTON LLP
   5   700 Louisiana Street, Suite 2750
       Houston, TX 77002
   6   Telephone: (713) 431-7100
   7 Attorneys for Defendants
     CLIFFORD “T.I.” HARRIS, TAMEKA
   8 “TINY” HARRIS, OMG GIRLZ LLC, and
     Counter-Claimants GRAND HUSTLE, LLC,
   9 PRETTY HUSTLE, LLC and OMG GIRLZ LLC
  10
                          UNITED STATES DISTRICT COURT
  11
                        CENTRAL DISTRICT OF CALIFORNIA
  12
       MGA ENTERTAINMENT, INC.,                 Case No. 2:20-cv-11548-JVS-AGR
  13   a California corporation,
  14              Plaintiff,
  15        vs.
  16   CLIFFORD “T.I.” HARRIS, an              Defendant and Counterclaimant’s
       individual; TAMEKA “TINY” HARRIS, Denial of Remittitur
  17   an individual; OMG GIRLZ LLC, a
       Delaware limited liability company; and
  18   DOES 1-10, inclusive,
  19              Defendants.
  20   GRAND HUSTLE, LLC, PRETTY                Judge: Hon. James V. Selna
       HUSTLE, LLC, and OMG GIRLZ LLC,
  21                                            Complaint Filed: December 20, 2020
                  Counter-Claimants,            Trial Date:      September 3, 2024
  22
            vs.                                 .
  23
       MGA ENTERTAINMENT, INC.,
  24   ISAAC LARIAN, and DOES 1 – 10,
       inclusive,
  25
                  Counter-Defendants.
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                                                                    Case No. 2:20-cv-11548-JVS-AGR
                                                                               DENIAL OF REMITTITUR
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                                      #:52624



   1         TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF
   2
       RECORD:
   3
             PLEASE TAKE NOTICE that per the Court’s Order at Dkt. 1133, Defendants
   4
   5 Clifford “T.I.” Harris, Tameka “Tiny” Harris and OMG Girlz LLC and Counter-
   6
       Claimants Grand Hustle, LLC, OMG Girlz LLC and Pretty Hustle, LLC (together,
   7
   8 “the OMG Girlz”) hereby lodge their denial of the $1 remittitur. Counsel for the OMG
   9 Girlz will attempt to meet and confer with counsel for MGA and file a proposed
  10
       briefing schedule for the structure of the new trial on punitive damages.
  11
  12
  13
  14
  15
  16
  17 Dated: July 10, 2025
  18                                     SHEPPARD, MULLIN, RICHTER &
  19                                     HAMPTON LLP
  20
  21                                     By /s/ John R. Keville
  22                                        JOHN R. KEVILLE
  23                                         Attorney for Defendants and Counterclaimants
  24                                         CLIFFORD “T.I.” HARRIS, TAMEKA “TINY”
                                             HARRIS, OMG GIRLZ LLC, and Counter-
  25                                         Claimants GRAND HUSTLE, LLC, PRETTY
  26                                         HUSTLE, LLC and OMG GIRLZ LLC
  27
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                                                -1-                     Case No. 2:20-cv-11548-JVS-AGR
                                                                                   DENIAL OF REMITTITUR
